 Case: 0:10-cr-00007-DLB-EBA            Doc #: 283 Filed: 03/23/15     Page: 1 of 2 - Page
                                            ID#: 962



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                   AT ASHLAND

CRIMINAL CASE NO. 10-7-DLB-EBA-9

UNITED STATES OF AMERICA                                                         PLAINTIFF


vs.                            ORDER ADOPTING
                          REPORT AND RECOMMENDATION


CHARLES NELSON MONROE ISON                                                     DEFENDANT

                               *    *      *   *   *    *    *

       This matter is before the Court upon the Report and Recommendation (R&R) of the

United States Magistrate Judge, wherein he recommends that the Court revoke

Defendant’s supervised release and impose a sentence of twelve (12) months

imprisonment, with no supervised release to follow (Doc. # 279).            During the final

revocation hearing conducted by Magistrate Judge Atkins on February 5, 2015, Defendant

admitted to violating the conditions of his supervised release as set forth in the January 13,

2015 Supervised Release Violation Report. (Id. at 1). Defendant has filed a timely

objection to the R&R (Doc. # 282), asking the Court to impose a sentence of twelve (12)

months and one (1) day so that he may be eligible for good time credits. No response

having been filed to Defendant’s Objection, and the time for such filing having now expired,

the R&R and the Objection are ripe for the Court’s review.

       Having reviewed the R&R and Defendant’s Objection, and Court concluding that the

R&R is sound in all respects, and being otherwise sufficiently advised,



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 Case: 0:10-cr-00007-DLB-EBA         Doc #: 283 Filed: 03/23/15          Page: 2 of 2 - Page
                                         ID#: 963



       IT IS ORDERED as follows:

       1.     The Report and Recommendation (Doc. # 279) is hereby ADOPTED as the

findings of fact and conclusions of law of the Court;

       2.     Defendant is found to have VIOLATED the terms of his supervised release;

       3.     Defendant’s supervised release is hereby REVOKED;

       4.     Defendant’s Objection to the Report and Recommendation (Doc. # 282) is

hereby SUSTAINED;

       5.     Defendant is sentenced to the CUSTODY of the Attorney General for a period

of twelve (12) months and one (1) day, with no supervised release to follow and with the

recommendation that his sentence be served at FCI Ashland, if possible; and

       6.     A Judgment shall be entered concurrently herewith.

       This 23rd day of March, 2015.




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